                 Case 3:22-cv-05759 Document 1 Filed 10/07/22 Page 1 of 12




 1

 2

 3

 4

 5

 6
                              UNITED STATES DISTRICT COURT
 7                           WESTERN DISTRICT OF WASHINGTON
                                       AT TACOMA
 8
     DOUGLAS BISHOP, as an individual, and as
 9   Personal Representative for the ESTATE OF           No.
     QUINCY BISHOP, and on behalf of B.G.B. and
10   M.D.B, minors, VICTORIA BISHOP, as an               COMPLAINT AND
     individual, CORY BISHOP and KIARA
11   BISHOP and the marital community comprised          DEMAND FOR JURY
     thereof;
12
                                   Plaintiffs,
13                   v.

14   CITY OF BUCKLEY, a political subdivision of
     the State of Washington d/b/a Buckley Police
15   Department, ARTHUR FETTER, an individual
     and KURT ALFANO, an individual;
16
                              Defendants.
17
            COME NOW the above-named Plaintiffs, by and through their attorneys of record
18
     John. R. Connelly, Jr., Meaghan M. Driscoll, and Samuel J. Daheim, and Connelly Law
19
     Offices, PLLC, and by way of claim allege upon personal knowledge as to themselves and
20
     their own actions, and upon information and belief upon all other matters, as follows.
21
            1.      This case arises from the unnecessary, negligent, and wrongful killing of
22
     Quincy Bishop, a young father, brother and son, who was shot unnecessarily by police in
23

     COMPLAINT - 1 of 12                                       CONNELLY LAW OFFICES, PLLC
                                                                           2301 North 30th Street
                                                                            Tacoma, WA 98403
                                                                   (253) 593-5100 Phone - (253) 593-0380 Fax
                 Case 3:22-cv-05759 Document 1 Filed 10/07/22 Page 2 of 12




 1   front of his home due to the failure of the responding agency and police officers to follow

 2   proper police procedure and properly control the scene.

 3                                         I.      PARTIES

 4          2.      Defendant CITY OF BUCKLEY is a political subdivision of the State of

 5   Washington. Among other things, the City of Buckley provides law enforcement services

 6   through its police department, the Buckley Police Department.                        Buckley’s Police

 7   Department’s purpose is to protect citizens from harm, and its mission is supposed to include

 8   creating a safe and secure environment in which to live and work, enforcing the law in a fair

 9   and impartial manner in accordance with applicable police standards and practices, and

10   safeguarding its citizens’ Constitutional rights.       The negligent conduct and civil rights

11   violations delineated herein were proximately caused by the City of Buckley’s customs,

12   policies and usages, ratification of misconduct, and the decisions of its policymakers.

13          3.      Defendant KURT ALFANO is the Chief of the City of Buckley Police

14   Department who, at all times relevant hereto, was acting under color of law. In his role as

15   Chief, Defendant Alfano is responsible for formulating and implementing the Buckley Police

16   Department’s policies and procedures and ensuring that its officers are properly and

17   adequately trained.

18          4.      Defendant ARTHUR FETTER is a City of Buckley police officer who, at all

19   times relevant hereto, was acting under color of law.

20          5.      Plaintiff DOUGLAS BISHOP is the father of the deceased, Quincy Bishop,

21   with which he had a close and loving relationship. Douglas Bishop and the Bishop family are

22   long-time residents of the Orting Community in Pierce County, and Douglas Bishop is a

23   former Buckley Police Officer. Plaintiff Douglas Bishop currently resides in Orting, Pierce

     COMPLAINT - 2 of 12                                         CONNELLY LAW OFFICES, PLLC
                                                                             2301 North 30th Street
                                                                              Tacoma, WA 98403
                                                                     (253) 593-5100 Phone - (253) 593-0380 Fax
                  Case 3:22-cv-05759 Document 1 Filed 10/07/22 Page 3 of 12




 1   County, Washington with his wife Victoria Bishop. Plaintiff Douglas Bishop had a close and

 2   loving relationship with his son, Quincy Bishop. He brings claims individually, and also as

 3   Personal Representative of the Estate of his son, Quincy Bishop, deceased.

 4          6.       Plaintiff VICTORIA BISHOP is also a long-time resident of the Orting

 5   Community. She is Douglas Bishop’s wife and the mother of Quincy Bishop, deceased. She

 6   had a close and loving relationship with her son.

 7          7.       Plaintiffs B.G.B. and M.D.B are Quincy Bishop’s minor daughters. Quincy

 8   had a close and loving relationship with his daughters and resided with them. B.G.D and

 9   M.D.B currently reside in the neighboring community of Carbonato, WA with their mother.

10          8.       Plaintiff CORY BISHOP is Quincy Bishop’s brother and a current resident of

11   Puyallup, Pierce County, Washington. Cory Bishop was raised in Orting with his brother,

12   Quincy, and they had a close and loving relationship. At all times material hereto, the

13   brothers resided together at Cory Bishop’s home in Puyallup, WA.

14          9.       The officer involved shooting that is the subject of this complaint occurred at

15   Cory Bishop’s home. Cory Bishop was near to, witnessed and watched in horror as his

16   brother was unnecessarily shot multiple times and killed by officer(s) of the City of Buckley

17   Police Department.

18          10.      Plaintiff KIARA BISHOP is Cory Bishop’s wife and is a resident of Puyallup,

19   Washington. The officer involved shooting complained of occurred at her home while she

20   was present.

21          11.      QUINCY IVAN BISHOP was a loving son, brother and father who was shot

22   and killed in his own truck by officer(s) of the City of Buckley. His Estate and his

23   beneficiaries bring claims through Quincy’s surviving father and Personal Representative,

     COMPLAINT - 3 of 12                                       CONNELLY LAW OFFICES, PLLC
                                                                            2301 North 30th Street
                                                                             Tacoma, WA 98403
                                                                    (253) 593-5100 Phone - (253) 593-0380 Fax
                  Case 3:22-cv-05759 Document 1 Filed 10/07/22 Page 4 of 12




 1   Douglas Bishop.

 2          12.      Plaintiffs named herein are collectively referred to as the Bishop family.

 3                                  II.   JURISDICTION & VENUE

 4          13.      This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1343 and § 1367.

 5          14.      Venue is proper in the Western District of Washington pursuant to 28 U.S.C. §

 6   1391 because Defendants CITY OF BUCKLEY is located in this judicial district and because

 7   a substantial portion of the events and omissions giving rise to this claim occurred in Pierce

 8   County, Washington, within the Western District of Washington.

 9                                  III. STATUTORY COMPLIANCE

10          15.      On or about May 12, 2021 the City of Buckley was served with tort claims on

11   behalf of the Bishop family.

12          16.      All prerequisites to the maintenance of this action imposed by RCW 4.96 have

13   accordingly been satisfied.

14                                    IV. STATEMENT OF FACTS

15          17.      This case arises from the wrongful killing of Quincy Bishop, a young father

16   who was shot by police in front of his home and family due to Defendant’s negligent,

17   reckless, and deliberately indifferent handling of a routine police matter resulting in

18   unnecessary and preventable use of deadly force.

19          18.      On November 1, 2020, Defendant Arthur Fetter, acting for and on behalf of the

20   Buckley Police Department in his role as a police officer, texted Cory Bishop to ask about the

21   whereabouts of his brother, Quincy. Cory responded and Officer Fetter made arrangements

22   through Cory to meet Quincy and Cory at Cory’s home.

23          19.      On November 1, 2020, at approximately 9:00 p.m., Defendant Fetter of the

     COMPLAINT - 4 of 12                                         CONNELLY LAW OFFICES, PLLC
                                                                             2301 North 30th Street
                                                                              Tacoma, WA 98403
                                                                     (253) 593-5100 Phone - (253) 593-0380 Fax
                  Case 3:22-cv-05759 Document 1 Filed 10/07/22 Page 5 of 12




 1   Buckley Police Department arrived at the residence of Cory Michael Bishop to question his

 2   brother, Quincy Bishop, about a domestic situation that occurred earlier in the day.

 3          20.      Defendant Arthur Fetter attended high school with Cory and Quincy Bishop

 4   and was well acquainted with the brothers and the Bishop family during and after high school.

 5          21.      Defendant Fetter was accompanied by the Puyallup Police Department as well

 6   as at least one other deputy of the Pierce County Sheriff’s Office. When officers arrived at the

 7   home, Quincy and Cory were outside waiting for them.

 8          22.      Defendant Fetter informed Quincy he was not under arrest and asked him to

 9   come with them to the station for questioning.

10          23.      Quincy complied with the officers and asked if he could retrieve his wallet

11   from his truck. Quincy was allowed by police officers to go to his truck. While retrieving his

12   wallet, Quincy asked the officers why he couldn’t drive himself to the police station if he was

13   not under arrest.

14          24.      Defendant Fetter unreasonably and unnecessarily escalated the situation by

15   grabbing Quincy with both hands and telling him he could go “the easy way or the hard way”

16   before he began forcibly pulling him from his own vehicle. At that point, he forcibly began

17   physically grabbing Quincy. Quincy was not under arrest and had been expressly told that he

18   was not under arrest.

19          25.      Moments after grabbing Quincy from the vehicle, Defendant Fetter stepped

20   back, unholstered his weapon, and without warning, shot Quincy with his service firearm,

21   prompting other officers on the scene to shoot. Together these officers fired 5-7 shots at

22   Quincy Bishop in front of his brother Cory, striking him multiple times in close proximity,

23   and killing him.

     COMPLAINT - 5 of 12                                        CONNELLY LAW OFFICES, PLLC
                                                                            2301 North 30th Street
                                                                             Tacoma, WA 98403
                                                                    (253) 593-5100 Phone - (253) 593-0380 Fax
                    Case 3:22-cv-05759 Document 1 Filed 10/07/22 Page 6 of 12




 1            26.      Cory Bishop was forced to watch helplessly as the officers unnecessarily shot

 2   and killed his brother in front of him.

 3            27.      Cory Bishop was then unlawfully and unreasonably detained in a police car

 4   for hours for being a witness to the shooting. Cory was in severe distress as officers would

 5   not let him out to be with his brother or assist in rendering aid. In the police car Cory was

 6   helpless and separated from his brother who lay dying in the street.

 7            28.      Meanwhile, Quincy Bishop was laid on the roadway, suffering and bleeding

 8   out from multiple gunshot wounds.

 9            29.      Quincy suffered extreme pain and suffering and eventually succumbed to the

10   injuries inflicted by multiple gunshot wounds, bled out and died in at the scene. Witnesses

11   state his body was left on the roadway for hours.

12            30.      As a direct and proximate result of Defendants’ unreasonable conduct, Quincy

13   Bishop was killed and his Estate sustained general and special damages which will be proven

14   with specificity at the time of trial. Plaintiffs, the Bishop family, sustained severe physical

15   and emotional pain and suffering and mental anguish, loss of their relationship with Quincy,

16   and other general and special damages which will be proven with specificity at the time of

17   trial.

18            31.       The Estate of Quincy Bishop and its beneficiaries, have suffered significant,

19   ongoing general and special damages which have continued to the present and will continue

20   for an indefinite time into the future and are, therefore, permanent, as a direct and proximate

21   result of Defendants’ negligence.

22            32.      As a direct and proximate result of Defendants’ actions, Plaintiff Cory Bishop

23   lost his brother, suffered outrage, fear, anxiety, depression, trauma, severe mental anguish,

     COMPLAINT - 6 of 12                                         CONNELLY LAW OFFICES, PLLC
                                                                             2301 North 30th Street
                                                                              Tacoma, WA 98403
                                                                     (253) 593-5100 Phone - (253) 593-0380 Fax
                   Case 3:22-cv-05759 Document 1 Filed 10/07/22 Page 7 of 12




 1   emotional distress with objective symptoms, and other special and general damages in an

 2   amount to be proven at trial. His wife Kiara Bishop was in the house, heard the shots,

 3   observed Quincy’s body lying in the street, and suffered severe emotional distress. She has

 4   suffered from loss of consortium, among other special and general damages in an amount to

 5   be proven at trial.

 6           33.      Buckley Police Department officers were not properly trained, they failed to

 7   follow standard police practices and protocols, lacked knowledge of standards regarding the

 8   use of deadly force, failed to properly control the scene, failed to have an appropriate plan for

 9   the contact, questioning, or arrest and detention of Quincy Bishop, failed to have adequate

10   supervision, and were unnecessarily aggressive toward Quincy.

11                   V. FIRST CAUSE OF ACTION – UNCONSTITUTIONAL USE OF
                                       EXCESSIVE FORCE
12
             34.      By virtue of the facts set forth above, the Defendants are liable for
13
     compensatory and punitive damages for subjecting, or causing to be subjected, Quincy
14
     Bishop, a citizen of the United States, to a deprivation of the right guaranteed by the Fourth
15
     Amendment to the Constitution of the United States and 42 U.S.C. § 1983, to be free from
16
     unreasonable searches of his person, unreasonable searches and entries into his home and the
17
     surrounding curtilage, and to be free from deprivations of his life. Defendants did this by
18
     performing the seizure in an unreasonable, dangerous and violent manner, and by shooting
19
     Quincy Bishop without legal cause or justification. Defendants are liable pursuant to law for
20
     depriving Quincy Bishop of his life, liberty and property and for punitive damages,
21
     compensatory damages and reasonable attorneys’ fees and costs.
22
             35.      In addition, parents have a constitutionally protected interest under the
23

     COMPLAINT - 7 of 12                                        CONNELLY LAW OFFICES, PLLC
                                                                            2301 North 30th Street
                                                                             Tacoma, WA 98403
                                                                    (253) 593-5100 Phone - (253) 593-0380 Fax
                     Case 3:22-cv-05759 Document 1 Filed 10/07/22 Page 8 of 12




 1   Fourteenth Amendment in the companionship and society of their children and children have

 2   a constitutionally protected interest under the Fourteenth Amendment in the companionship

 3   and society of their father.

 4             36.      These rights are long-standing and were clearly established at all times relevant

 5   hereto.

 6             37.      Defendants violated Quincy Bishop and the Bishop Family’s constitutional

 7   rights by engaging in an unreasonable search and seizure, engaging in unlawful seizure and by

 8   using excessive, deadly force against Quincy Bishop — as set forth herein, and in other

 9   respects as well.

10             38.      As a result of those violations by Defendants, Quincy Bishop was shot and

11   killed and experienced substantial pre-death pain, suffering, and pre-death terror.

12             39.      As a result of these and other violations by Defendants, Plaintiffs B.G.B and

13   M.D.B. lost their father and Plaintiffs Douglas and Victoria Bishop lost their son.

14             40.      As a result of these and other violations by Defendants, Plaintiff Cory Bishop,

15   who witnessed the needless shooting of his brother, and Plaintiff Kiara Bishop suffered severe

16   emotional distress as a direct and proximate result of Defendants’ deliberate indifference,

17   callousness and negligence.

18        VI. SECOND CAUSE OF ACTION –VIOLATIONS OF CONSTITUTIONAL
           RIGHTS BY DEFENDANT CITY OF BUCKLEY AND POLICY MAKERS
19
               41.      Defendant City of Buckley and its policy makers acted with deliberate
20
     indifference to Plaintiffs’ Constitutional rights — as set forth above, and by failing to train its
21
     law enforcement officers, failing to supervise and monitor its law enforcement officers,
22
     failing to adopt and implement policies for, among other things, crisis intervention, de-
23

     COMPLAINT - 8 of 12                                           CONNELLY LAW OFFICES, PLLC
                                                                                2301 North 30th Street
                                                                                 Tacoma, WA 98403
                                                                        (253) 593-5100 Phone - (253) 593-0380 Fax
                  Case 3:22-cv-05759 Document 1 Filed 10/07/22 Page 9 of 12




 1   escalation, investigatory questioning without an arrest, non-lethal tactics, and the decision-

 2   making process that should accompany control of a scene, detention of a citizen for

 3   questioning, and use of lethal force, and in other respects as well.

 4          42.      It was highly predictable that these failures would result in Constitutional

 5   violations, like those that occurred in this case.      The Bishop Family’s tragedy was the

 6   foreseeable consequence of the failures of the Buckley Police Department to equip its law

 7   enforcement officers with the necessary tools to handle recurring situations that require the

 8   use of de-escalation techniques, non-lethal tactics, and the appropriate decision-making

 9   process that should accompany use of lethal force.

10          43.      The civil rights violations delineated herein were proximately caused by

11   Defendants’ customs, policies, practices, ratification of misconduct, and usages.

12          44.      As a result of the actions and deliberate indifference of Defendants, Quincy

13   Bishop was fatally shot and experienced substantial pre-death pain, suffering, terror, and

14   anxiety prior to his death.

15          45.      As a result of these and other violations by Defendants, Plaintiffs B.G.B and

16   M.D.B lost their father; Plaintiffs Douglas and Victoria Bishop lost their son; and Plaintiff

17   Cory Bishop, who witnessed the needless shooting of his brother, and Plaintiff Kiara Bishop

18   suffered severe emotional distress as a direct and proximate result of Defendants’ deliberate

19   indifference, callousness and negligence.

20                VII. THIRD CAUSE OF ACTION –VIOLATIONS OF CORY BISHOP’S
                           CONSTITUTIONAL RIGHTS BY DEFENDANTS
21
            46.      The Fourth Amendment to the United States Constitution prohibits
22
     unreasonable searches and seizures of the person and entries into house and property.
23

     COMPLAINT - 9 of 12                                         CONNELLY LAW OFFICES, PLLC
                                                                             2301 North 30th Street
                                                                              Tacoma, WA 98403
                                                                     (253) 593-5100 Phone - (253) 593-0380 Fax
               Case 3:22-cv-05759 Document 1 Filed 10/07/22 Page 10 of 12




 1          47.     Defendants violated Cory Bishop’s constitutional rights by engaging in an

 2   unreasonable seizure, engaging in and unlawfully detaining Cory Bishop in a police car for

 3   hours after he witnessed his brother being shot and killed by a police officer —as set forth

 4   herein, and in other respects as well.

 5                VIII. FOURTH CAUSE OF ACTION – NEGLIGENT INFLICTION OF
                                   EMOTIONAL DISTRESS
 6
            48.     As a direct and proximate result of the negligent acts of Defendants, as
 7
     described above and in other respects, Plaintiff Cory Bishop suffered serious emotional
 8
     anguish and trauma, including severe emotional distress. Just steps away from his brother,
 9
     Quincy, Cory was a bystander and in the zone of danger and watched in shock and horror as
10
     his brother was needlessly shot and killed by officers acting under color of law.
11
            49.     As a direct and proximate result of the injury to her husband, Kiara Bishop has
12
     experienced general and special damages including emotional distress, mental injury, loss of
13
     consortium, loss of love and affection, loss of companionship and loss of her relationship with
14
     her husband.
15
            IX. FIFTH CAUSE OF ACTION – NEGLIGENCE - CITY OF BUCKLEY
16
            50.     Defendants owed a duty to exercise ordinary care when engaging in law
17
     enforcement functions.
18
            51.     Defendants owed a duty of reasonable care to follow appropriate police practices
19
     and procedures in the detention, control, contact, questioning, and arrest of citizens. Defendants
20
     owed a duty to refrain from negligently, unreasonably, recklessly, and wantonly using deadly
21
     force against citizens of Pierce County; needlessly and dangerously escalating routine law
22
     enforcement encounters; failing to secure a scene; and creating a deadly force situation.
23

     COMPLAINT - 10 of 12                                         CONNELLY LAW OFFICES, PLLC
                                                                              2301 North 30th Street
                                                                               Tacoma, WA 98403
                                                                      (253) 593-5100 Phone - (253) 593-0380 Fax
               Case 3:22-cv-05759 Document 1 Filed 10/07/22 Page 11 of 12




 1          52.     Defendants owed a duty to ensure that the officers in its agency are fit for service

 2   and properly trained in police standards and protocols regarding control of a scene, dealing with

 3   citizens so as not to unnecessarily escalate encounters and to be familiar with and follow proper

 4   and reasonable standards regarding the use of deadly force.

 5          53.     Defendants breached these duties when City of Buckley officers engaged in the

 6   improper, unreasonable, unnecessary and excessive use of force, including but not limited to the

 7   handling of events at the scene of this incident, the shooting and killing of Quincy Bishop, and

 8   the false imprisonment and detention of Cory Bishop.

 9          54.     Defendants breached their duties as described above, and in other ways, which

10   may become known through the course of discovery.

11          55.     The negligent and unreasonable actions of Defendant occurred while the

12   officer(s) were in the course of their police work and amounted to misfeasance that created a risk

13   of harm, and actual harm, which ultimately resulted in Quincy Bishop’s death and damages to

14   each of the Plaintiffs. The officer(s)’ actions were unreasonable, excessive, and well outside

15   standards that reasonable police officers follow when interacting with citizens.

16          56.     As a direct and proximate result of the Defendants’ negligence, unreasonable

17   conduct, and failure to follow proper police practices and procedures, Plaintiffs suffered general

18   and specific damages, including severe emotional distress, unnecessary death of Quincy Bishop,

19   and the unnecessary lost love, companionship, and guidance of a father.

20                                     X. PRAYER FOR RELIEF

21          WHEREFORE, Plaintiffs request a judgment against Defendants, as follows:

22          57.     Awarding Plaintiffs general and special damages, including damages for pain,

23   suffering, terror, and loss of consortium, pursuant to 42 U.S.C. §§ 1983 and 1988, and in

     COMPLAINT - 11 of 12                                          CONNELLY LAW OFFICES, PLLC
                                                                              2301 North 30th Street
                                                                               Tacoma, WA 98403
                                                                      (253) 593-5100 Phone - (253) 593-0380 Fax
                Case 3:22-cv-05759 Document 1 Filed 10/07/22 Page 12 of 12




 1   amounts otherwise to be proven at trial;

 2           58.     Awarding reasonable attorneys’ fees and costs pursuant to 42 U.S.C. §1988, or

 3   as otherwise available under the law;

 4           59.     Awarding damages to Plaintiffs, and each of them, for the unreasonable,

 5   negligent conduct of Defendants for the negligent infliction of emotional distress, false

 6   imprisonment, negligent failure to follow reasonable and standard police policies, and

 7   practices, and unnecessary and unreasonable use of excessive, deadly force.

 8           60.     Awarding punitive damages on Plaintiffs’ claims under 42 U.S.C. § 1983;

 9           61.     Awarding all applicable pre and post-judgment interest as permitted by law;

10           62.     Awarding such other and further relief as the Court deems just and proper.

11                                 IX. DEMAND FOR JURY TRIAL

12           Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs hereby demand a jury for

13   all issues so triable.

14           DATED this 7th day of October, 2022.

15                                           CONNELLY LAW OFFICES, PLLC

16
                                             By:__/s John R. Connelly, Jr. ________
17                                              John R. Connelly, Jr., WSBA No. 12183
                                                Jconnelly@connelly-law.com
18
                                             By: __/s Meaghan M. Driscoll___________
19                                               Meaghan M. Driscoll, WSBA No. 49863
                                                 mdriscoll@connelly-law.com
20
                                             By: _/Samuel J. Daheim ______________
21                                               Samuel J. Daheim, WSBA No. 52746
                                                 sdaheim@connelly-law.com
22                                               Attorneys for Plaintiffs
                                                 2301 North 30th Street
23                                               Tacoma, WA 98403


     COMPLAINT - 12 of 12                                       CONNELLY LAW OFFICES, PLLC
                                                                            2301 North 30th Street
                                                                             Tacoma, WA 98403
                                                                    (253) 593-5100 Phone - (253) 593-0380 Fax
